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April 24, 2025 Be a

The Honorable Indira Talwani OER
John Joseph Moakley U.S. Courthouse a

1 Courthouse Way, Suite 2300 Cog
Boston, Massachusetts 02210 es

RE: Letter of Support for City Councilor Tania Fernandes Anderson
Dear Judge Talwani,

| am writing this letter as an active community member who has worked with City Councilor
Tania Fernandes Anderson. | would like to express my full support and to respectfully request
leniency in any decisions regarding her current legal matter.

_ Councilor Anderson focuses deeply on community. She has worked tirelessly to advance equity
in Boston and builds upon her experiences as an immigrant and a woman of color. Councilor
Anderson is dedicated to justice “on-the-ground” and works extremely hard in her position as an
advocate. | can say without question that Councilor Anderson has dedicated more time and
energy for the people of Boston than any other City Councilor | have known.

Councilor Anderson has accepted responsibility for her recent actions that have compromised
her. Our community still needs her continued presence and guidance. We need her voice. Her
years of public service should not be minimized because of the many, many lives she has
positively affected.

As you consider the seriousness of Councilor Anderson’s situation, | ask you to also consider
how much Councilor Anderson has given to the people of Boston and the community.

Thank you for your consideration of this input,
Sincerely,
Laurel E. Radwin, RN, Ph.D.

Coordinator, Roslindale Coalition
978-729-6784
